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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 IN RE:                                       §
                                              §
                                              §      CASE NO. 21-30975-SGJ-11
 CHRISTOPHER WEATHERFORD                      §
                                              §
                                              §
                                              §

          NOTICE OF APPEARANCE OF COUNSEL AND DEMAND FOR SERVICE OF
                                 PAPERS

          Please take notice that the undersigned attorney of the firm of The Law Offices of Greg

 Gray, represents Alford Lee, a creditor and party in interest in these proceedings, and enter an

 appearance and demand that all notices given or required to be given in this case and all papers

 served or required to be served in this case be given to and served upon the undersigned at the

 office, firm address, and telephone number set forth below, pursuant to Rule 2002 of the

 Bankruptcy Rules of Procedure.

          This Notice of Appearance shall not be construed as designation of the undersigned

 attorney as agent for service under Bankruptcy Rules 7004 or 9014(b).

                                              Respectfully submitted,

                                              THE LAW OFFICES OF GREG GRAY
                                              1012 Ridge Road
                                              Rockwall, Texas 75087
                                              Tel: (972) 771-5525
                                              Fax: (972) 200-1275
                                              Email: ggray@ggraylawfirm.com




                                              __________________________________
                                              Greg Gray
                                              State Bar No. 00787585
                                              Attorney for Alford Lee, a Creditor


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                                CERTIFICATE OF SERVICE

      This is to certify that a true and correct copy of the foregoing Notice of Appearance and
 Demand for Service of Papers was ELECTRONICALLY FILED on:

 Joyce Lindauer
 1412 Main St.
 Dallas, TX 75202

 U.S. Trustee
 1100 Commerce St., Room 976
 Dallas, TX 75202

 Dated on June 30, 2021



                                            __________________________________
                                            Greg Gray




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